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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFO~~1ur120 Pi\ 3: 04
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UNITED STATES OF AMERICA,                            CASE NO. 14Cr1159-Dt

                                Plaintiff,

                   vs.                               JUDGMENT OF DISMISSAL
 MANUEL GUADALUPE AYALA (2) ,

                              Defendant.


             IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has granted the
      motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

~     the Court has granted the motion of the Government for dismissal without prejudice; or

      the Court has granted the motion of the defendant for dismissal/judgment of acquittal; or

      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

~ of the offense(s) as charged in the Indictmentllnformation:


        21 USC 952 and 960, 18 USC 2

             IT IS THEREFORE ADJUDGED that the defendan~is he,:!ged.

 DATED:    June 20, 2014                                 --....e:C-=---.J....::.£lI~~~-....,:::lEK.-------
                                                          Hon. DANA M. SABRAW
                                                          UNITED STATES DISTRICT JUDGE
